                                                                                                                                                 08/24/23 4:08 PM




Fill in this information to identify your case:


United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Helix Engineering & Construction, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  101 Buena Vista Circle S
                                  Daphne, AL 36526
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Baldwin                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  101 Buena Vista Circle S Daphne, AL 36526
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




                     Case 23-11940           Doc 1       Filed 08/24/23 Entered 08/24/23 16:12:32                              Desc Main
 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 1
                                                           Document     Page 1 of 26
                                                                                                                                                    08/24/23 4:08 PM


Debtor    Helix Engineering & Construction, LLC                                                        Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known
                   Case 23-11940                 Doc 1      Filed 08/24/23 Entered 08/24/23 16:12:32                                    Desc Main
 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
                                                              Document     Page 2 of 26
                                                                                                                                                   08/24/23 4:08 PM


Debtor   Helix Engineering & Construction, LLC                                                     Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




                 Case 23-11940               Doc 1        Filed 08/24/23 Entered 08/24/23 16:12:32                                 Desc Main
 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                                            Document     Page 3 of 26
                                                                                                                                                 08/24/23 4:08 PM


Debtor   Helix Engineering & Construction, LLC                                                     Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       August 24, 2023
                                                  MM / DD / YYYY

                                 /s/ Brian Penn and Erin Byrd as Admin. Estate of                          Brian Penn and Erin Byrd as Admin. Estate of
                             X Elvin Byrd                                                                 Elvin Byrd
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Members




18. Signature of attorney    X /s/ Marcus E McDowell                                                       Date    August 24, 2023
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Marcus E McDowell
                                 Printed name

                                 Wilkins Bankester Biles Wynne
                                 Firm name

                                 60 N Section Street
                                 Fairhope, AL 36532
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      mmcdowell@wbbwlaw.com

                                 5109-W77M AL
                                 Bar number and State




                 Case 23-11940              Doc 1        Filed 08/24/23 Entered 08/24/23 16:12:32                                Desc Main
 Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                                           Document     Page 4 of 26
                                                                                                                                              08/24/23 4:08 PM




 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           August 24, 2023                        X /s/ Brian Penn and Erin Byrd as Admin. Estate of Elvin Byrd
                                                                       Signature of individual signing on behalf of debtor

                                                                        Brian Penn and Erin Byrd as Admin. Estate of Elvin Byrd
                                                                       Printed name

                                                                       Members
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy




                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                       Desc Main
                                                                   Document     Page 5 of 26
                                                                                                                                                                                                   08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name            Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            23,711.42

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            23,711.42


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           100,567.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             100,567.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                   Case 23-11940                            Doc 1              Filed 08/24/23 Entered 08/24/23 16:12:32                                                            Desc Main
                                                                                 Document     Page 6 of 26
                                                                                                                                                   08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Synovus Bank                                            Checking                        1397                                    $23,411.42



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                $23,411.42
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                  Case 23-11940                   Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                       Desc Main
                                                                   Document     Page 7 of 26
                                                                                                                                          08/24/23 4:08 PM




 Debtor         Helix Engineering & Construction, LLC                                         Case number (If known)
                Name

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used      Current value of
                                                                              debtor's interest       for current value          debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            two laptops and HP Officejet Pro 8600                                           $0.00                                              $300.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                  $300.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
                No
                Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No.    Go to Part 11.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                     Desc Main
                                                                   Document     Page 8 of 26
                                                                                                                               08/24/23 4:08 PM




 Debtor         Helix Engineering & Construction, LLC                                        Case number (If known)
                Name

        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 3
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32             Desc Main
                                                                   Document     Page 9 of 26
                                                                                                                                                                     08/24/23 4:08 PM




 Debtor          Helix Engineering & Construction, LLC                                                              Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $23,411.42

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                         $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                              $300.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $23,711.42           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $23,711.42




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 4
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                  Case 23-11940                      Doc 1            Filed 08/24/23 Entered 08/24/23 16:12:32                                         Desc Main
                                                                       Document     Page 10 of 26
                                                                                                                                             08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                    Desc Main
                                                                  Document     Page 11 of 26
                                                                                                                                                                  08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name          Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:       List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
              No. Go to Part 2.
              Yes. Go to line 2.


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim


 3.1        Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $100,567.00
            U.S. Small Business Administration
            801 Tom Martin Drive
                                                                                 Contingent
            Suite 201                                                            Unliquidated
            Birmingham, AL 35211                                                 Disputed
            Date(s) debt was incurred 2020-07                                 Basis for the claim: Business Debt
            Last 4 digits of account number 8000                              Is the claim subject to offset?       No        Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                   On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                       related creditor (if any) listed?                  account number, if
                                                                                                                                                          any

 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.        $                             0.00
 5b. Total claims from Part 2                                                                             5b.   +    $                       100,567.00

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                               5c.       $                           100,567.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
                  Case 23-11940                   Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                                           Desc Main
                                                                  Document     Page 12 of 26
                                                                                                                                               08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                      Desc Main
                                                                  Document     Page 13 of 26
                                                                                                                                              08/24/23 4:08 PM



 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                        12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                       Page 1 of 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                  Desc Main
                                                                  Document     Page 14 of 26
                                                                                                                                                       08/24/23 4:08 PM




 Fill in this information to identify the case:

 Debtor name         Helix Engineering & Construction, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF ALABAMA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $-3,414.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                 $25,454.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,006,980.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                              Desc Main
                                                                  Document     Page 15 of 26
                                                                                                                                                         08/24/23 4:08 PM


 Debtor      Helix Engineering & Construction, LLC                                                         Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                  Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                  Case 23-11940                   Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                                  Desc Main
                                                                  Document     Page 16 of 26
                                                                                                                                                     08/24/23 4:08 PM


 Debtor        Helix Engineering & Construction, LLC                                                     Case number (if known)



11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Wilkins, Bankester, Biles &
                 Wynne, P.A.
                 60 N Section St
                 Fairhope, AL 36532                                                                                            2023-02                  $2,500.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers            Total amount or
                                                                                                                       were made                           value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                                Desc Main
                                                                  Document     Page 17 of 26
                                                                                                                                                  08/24/23 4:08 PM


 Debtor      Helix Engineering & Construction, LLC                                                      Case number (if known)




16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was          Last balance
              Address                                           account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                            Desc Main
                                                                  Document     Page 18 of 26
                                                                                                                                                            08/24/23 4:08 PM


 Debtor      Helix Engineering & Construction, LLC                                                      Case number (if known)




22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       JoAnn Ullrich                                                                                                              2016 to Present
                    16117 South Blvd
                    Silverhill, AL 36576
       26a.2.       Rhodes Company, LLC                                                                                                        2020 to Present
                    2607 Dauphin Street, Ste B
                    Mobile, AL 36606

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       JoAnn Ullrich
                    16117 South Blvd
                    Silverhill, AL 36576

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                                  Desc Main
                                                                  Document     Page 19 of 26
                                                                                                                                                    08/24/23 4:08 PM


 Debtor      Helix Engineering & Construction, LLC                                                      Case number (if known)



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Estate of Elvin T. Byrd                       101 Buena Vista Circle South                         Member                                50%
                                                     Daphne, AL 36526

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brian Penn                                    267 Royal Ln                                         Member                                50%
                                                     Fairhope, AL 36532



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                              Desc Main
                                                                  Document     Page 20 of 26
                                                                                                                                            08/24/23 4:08 PM


 Debtor      Helix Engineering & Construction, LLC                                                      Case number (if known)



 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on          August 24, 2023

 /s/ Brian Penn and Erin Byrd as Admin. Estate                           Brian Penn and Erin Byrd as Admin. Estate
 of Elvin Byrd                                                          of Elvin Byrd
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Members

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                         page 7

Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
                 Case 23-11940                    Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                        Desc Main
                                                                  Document     Page 21 of 26
                                                                                                                                                                               08/24/23 4:08 PM



B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                                                Southern District of Alabama
 In re       Helix Engineering & Construction, LLC                                                                                                 Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

              FLAT FEE
             For legal services, I have agreed to accept ....................................................................                  $
             Prior to the filing of this statement I have received .......................................................                     $
             Balance Due ...................................................................................................................   $

              RETAINER
             For legal services, I have agreed to accept and received a retainer of...........................                                 $                  2,500.00
             The undersigned shall bill against the retainer at an hourly rate of ...............................                              $                   300.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       b. [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     August 24, 2023                                                                                      /s/ Marcus E McDowell
     Date                                                                                                 Marcus E McDowell
                                                                                                          Signature of Attorney
                                                                                                          Wilkins Bankester Biles Wynne
                                                                                                          60 N Section Street
                                                                                                          Fairhope, AL 36532
                                                                                                            Fax:
                                                                                                          mmcdowell@wbbwlaw.com
                                                                                                          Name of law firm




Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
                 Case 23-11940                          Doc 1              Filed 08/24/23 Entered 08/24/23 16:12:32                                               Desc Main
                                                                            Document     Page 22 of 26
                                                                                                                                             08/24/23 4:08 PM




ALSB LBF 1007 (12/19)
                                                          UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF ALABAMA
      IN RE:

       Debtor(s)          Helix Engineering & Construction, LLC                       )       Case No.
                                                                                      )
                                                                                      )       Chapter: 7
                                                                                      )


                VERIFICATION OF OFFICIAL CREDITOR LIST (INITIAL OR SUPPLEMENTAL)

                                                            Original
                                                            Amendment
                                                                     Adding               Deleting

       I hereby certify under penalty of perjury that the master mailing list of creditors attached and/or
uploaded to the Electronic Case Filing System is true, correct and complete to the best of my knowledge.

       I further acknowledge that (1) the accuracy and completeness of the creditor list are the shared
responsibility of the debtor and the debtor’s attorney, (2) the court will rely on the creditor list for all
mailings, and (3) the various schedules and statements required by the Bankruptcy Rules are not used for
mailing purposes.

        If you are amending a previously-filed list of creditors, attach a list of only the creditor being added
or deleted and indicate below only the number of creditors being added or deleted.

                                                 creditor(s) (or if amended, number of creditors added), as shown on attached list

                                                 creditor(s) to be deleted, as shown on attached list
       /s/ Brian Penn and Erin Byrd as Admin. Estate of Elvin
       Byrd
       Debtor Signature                                                               Joint Debtor Signature

       /s/ Marcus E McDowell                                                              August 24, 2023
       Signature of Attorney                                                          Date
                                                                                                                            [Check if applicable]
                                                                                                            Creditors with foreign addresses included




                                                                                  1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                  Case 23-11940                       Doc 1          Filed 08/24/23 Entered 08/24/23 16:12:32                  Desc Main
                                                                      Document     Page 23 of 26
                                                                                                                          08/24/23 4:08 PM




ALSB LBF 1007 (12/19)

                                                         UNITED STATES BANKRUPTCY COURT
                                                                     SOUTHERN DISTRICT OF ALABAMA

                                                         OFFICIAL CREDITOR LIST GUIDELINES

The Official Creditor List must be provided to the court in electronic format and meet the requirements
below:

                The name and address of each creditor must be five lines or fewer

                Each line may contain no more than 40 characters including spaces

                Names and addresses should be left justified (no leading spaces) with only one column of creditors

                If attention lines are used, they should appear on the second line of the address

                City, state, and ZIP code must be on the last line

                All states must be two-letter abbreviations

                If a nine-digit ZIP code is used, a hyphen must separate the first five digits from the last four digits

                DO NOT include the following names on the mailing list because they will be retrieved
                 automatically by the court’s computer system: debtor, joint debtor, attorney for debtor(s),
                 Bankruptcy Administrator

      Attorney Filers
      Most bankruptcy preparation software packages can save the creditor list electronically in the proper
      format. Please check with your software company to see if you have this option.

      Filers without an Attorney (Pro Se Debtors)
      Filers without an attorney may submit a list of creditors to the clerk’s office.

      Verification of Creditor List
      Each submission of an Official Creditor List shall be accompanied by a cover sheet or Verification of
      Official Creditor List in the format provided by the Clerk.

      Amendments
      Amendments to the Official Creditor List shall contain only names and addresses to be added to or
      deleted from the Official Creditor List and must comply with the requirements above




                                                                                    2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
                  Case 23-11940                       Doc 1           Filed 08/24/23 Entered 08/24/23 16:12:32   Desc Main
                                                                       Document     Page 24 of 26
                                                                               08/24/23 4:08 PM




                         U.S. Small Business Administration
                         801 Tom Martin Drive Suite 201
                         Birmingham, AL 35211




Case 23-11940   Doc 1   Filed 08/24/23 Entered 08/24/23 16:12:32   Desc Main
                         Document     Page 25 of 26
                                                                                                                                     08/24/23 4:08 PM




                                                                     United States Bankruptcy Court
                                                                        Southern District of Alabama
  In re      Helix Engineering & Construction, LLC                                                            Case No.
                                                                                     Debtor(s)                Chapter    7




                                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Helix Engineering & Construction, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



     None [Check if applicable]




  August 24, 2023                                                        /s/ Marcus E McDowell
 Date                                                                    Marcus E McDowell
                                                                         Signature of Attorney or Litigant
                                                                         Counsel for Helix Engineering & Construction, LLC
                                                                         Wilkins Bankester Biles Wynne
                                                                         60 N Section Street
                                                                         Fairhope, AL 36532
                                                                          Fax:
                                                                         mmcdowell@wbbwlaw.com




Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
                  Case 23-11940                      Doc 1            Filed 08/24/23 Entered 08/24/23 16:12:32               Desc Main
                                                                       Document     Page 26 of 26
